     Case 4:24-cv-04722-YGR          Document 186   Filed 06/26/25   Page 1 of 14



 1 Marc Toberoff (S.B. #188547)
   mtoberoff@toberoffandassociates.com
 2 Jaymie Parkkinen (S.B. #318394)
 3 jparkkinen@toberoffandassociates.com
   TOBEROFF & ASSOCIATES, P.C.
 4 23823 Malibu Road, Suite 50-363
   Malibu, CA 90265
 5 Telephone: (310) 246-3333
   Facsimile: (310) 246-3101
 6
 7 Attorneys for Plaintiffs Elon Musk
   and X.AI Corp.
 8
                                 UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10
11    ELON MUSK, et al.,                            Case No. 4:24-cv-04722-YGR

12                     Plaintiffs,                  Assigned to Hon. Yvonne Gonzalez Rogers

13        v.                                        PLAINTIFFS’ NOTICE OF MOTION
                                                    AND MOTION TO STRIKE OPENAI
14    SAMUEL ALTMAN, et al.,                        DEFENDANTS’ FIFTY-FIVE DEFENSES
15
                       Defendants.                  Date:    August 5, 2025
16                                                  Time:    2:00 p.m.
                                                    Place:   Courtroom 1 (4th Fl.)
17                                                           1301 Clay St.
                                                             Oakland, CA 94612
18
19
20
21
22
23
24
25
26
27
28
29                                                                     CASE NO. 24-CV-04722-YGR
                                                                       PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR          Document 186           Filed 06/26/25   Page 2 of 14



 1                                NOTICE OF MOTION AND MOTION

 2          PLEASE TAKE NOTICE that on August 5, 2025, at 2:00 p.m., or as soon as the matter may

 3 be heard, in the courtroom of the Honorable Yvonne Gonzalez Rogers at the United States District

 4 Court for the Northern District of California, Ronald V. Dellums Federal Building and United
 5 States Courthouse, Courtroom 1 (4th Floor), 1301 Clay Street, Oakland, California 94612, Plaintiffs
 6 Elon Musk and X.AI Corp. (“xAI,” and collectively, “Plaintiffs”) will, and hereby do, move the
 7 Court to strike the fifty-five defenses filed by defendants Samuel Altman, Gregory Brockman,
 8 OpenAI, Inc., OpenAI, L.P., OpenAI, L.L.C., OpenAI GP, L.L.C., OpenAI OpCo, LLC, OpenAI
 9 Global, LLC, OAI Corporation, LLC, OpenAI Holdings, LLC, OpenAI Startup Fund Management,
10 LLC, OpenAI Startup Fund GP I, L.L.C., OpenAI Startup Fund I, L.P., OpenAI Startup Fund SPV
11 GP I, L.L.C., OpenAI Startup Fund SPV GP II, L.L.C., OpenAI Startup Fund SPV GP III, L.L.C.,
12 OpenAI Startup Fund SPV GP IV, L.L.C., OpenAI Startup Fund SPV I, L.P., OpenAI Startup Fund
13 SPV II, L.P., OpenAI Startup Fund SPV III, L.P., OpenAI Startup Fund SPV IV, L.P., Aestas
14 Management Company, LLC, and Aestas, LLC (collectively, “OpenAI”), pursuant to Federal Rules
15 of Civil Procedure 8 and 12(f), and Civil Local Rule 7-2.
16          As detailed in the Proposed Order submitted with this Motion, Plaintiffs seek an order

17 striking OpenAI’s affirmative defenses. This Motion is made on the grounds that: (1) the
18 affirmative defenses fail to satisfy the Twombly/Iqbal standard for pleading; (2) the negative
19 defenses are impermissibly duplicative; and, regardless, (3) the sheer number of overlapping
20 defenses and their utter lack of factual or legal specificity render them “insufficient” as a matter of
21 pleading because they do not “give[] [P]laintiffs fair notice of the defense[s].” Wyshak v. City Nat.
22 Bank, 607 F.2d 824, 827 (9th Cir. 1979); Winns v. Exela Enter. Sols., Inc., No. 4:20-CV-06762-
23 YGR, 2021 WL 5632587, at *2 (N.D. Cal. Dec. 1, 2021).
24          This Motion is based on this Notice of Motion and Motion, the attached Memorandum of

25 Points and Authorities, Plaintiffs’ Second Amended Complaint (“SAC”), Dkt. No. 170, OpenAI’s
26 Answer, Counterclaims, and Defenses, Dkt. No. 176, the Declaration of Jaymie Parkkinen, all
27 matters of which the Court may take judicial notice, all other pleadings on file in this action, and
28 any other written or oral argument or evidence that Plaintiffs may present to the Court.
29                                                     ii                      CASE NO. 24-CV-04722-YGR
                                                                               PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR   Document 186         Filed 06/26/25   Page 3 of 14



 1    DATED: June 26, 2025         Respectfully Submitted,

 2                                 TOBEROFF & ASSOCIATES, P.C.
 3
                                   /s/ Marc Toberoff
 4                                 Marc Toberoff

 5                                  Attorneys for Plaintiffs Elon Musk
                                   and X.AI Corp.
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29                                           iii                     CASE NO. 24-CV-04722-YGR
                                                                     PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR         Document 186            Filed 06/26/25   Page 4 of 14



 1                                       ISSUES TO BE DECIDED

 2          Pursuant to Local Civil Rule 7-4(a)(3), Plaintiffs identify the following issues to be decided:

 3          1.     Whether OpenAI’s total failure to allege any facts or elements of law in support of

 4 its affirmative defenses requires them to be struck under the plausibility standard of Ashcroft v.
 5 Iqbal, 556 U.S. 662 (2009), and Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007).
 6          2.     Whether OpenAI’s pleading of duplicative negative defenses requires them to be

 7 struck, as in Barnes v. AT & T Pension Ben. Plan-Nonbargained Program, 718 F. Supp. 2d 1167
 8 (N.D. Cal. 2010).
 9          3.     Whether, regardless of the applicable pleading standard or the propriety of pleading

10 duplicative negative defenses, OpenAI’s overlapping defenses, pled without factual or legal
11 support, and in many instances, without specification of the claims to which a purported defense
12 applies, fail to provide Plaintiffs with “fair notice” of OpenAI’s defenses under Wyshak v. City Nat.
13 Bank, 607 F.2d 824, 827 (9th Cir. 1979).
14          4.     Whether OpenAI’s misuse of these insufficiently and confusingly pled defenses as a

15 weapon in discovery establishes prejudice to Plaintiffs.
16
17
18
19
20
21
22
23
24
25
26
27
28
29                                                     iv                      CASE NO. 24-CV-04722-YGR
                                                                               PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR          Document 186           Filed 06/26/25    Page 5 of 14



 1                                            INTRODUCTION

 2          Plaintiffs acknowledge that the Court disfavors motions to strike under Federal Rule of Civil

 3 Procedure 12(f) and accordingly, endeavored to present this Motion with brevity and precision.

 4 OpenAI’s evolving defensive posture reveals a telling trajectory: what commenced as twelve
 5 discrete defenses in its initial Answer to Plaintiffs’ First Amended Complaint (“FAC”), Dkt. 147 at
 6 96-98, has metastasized into fifty-five separately pled defenses in its Answer to the SAC, Dkt. 176 at
 7 117-124, despite the SAC asserting fewer claims. Remarkably, not one of those fifty-five defenses
 8 furnishes even the most rudimentary factual basis, notwithstanding that sixteen unambiguously
 9 constitute affirmative defenses subject to Twombly/Iqbal’s heightened pleading standard.
10          Beyond its sixteen affirmative defenses that proffer mere legal conclusions devoid of factual

11 substance, OpenAI has separately articulated thirty-seven impermissible “negative” defenses that
12 constitute nothing more than duplicative restatements of denials found elsewhere in the pleading,
13 serving only to unnecessarily encumber these proceedings. Compounding this deficiency, all but
14 one of OpenAI’s fifty-five defenses completely lack any citation to law, thereby compelling
15 Plaintiffs to divine the substantive elements OpenAI believes it can show. Fifteen of these ostensible
16 “defenses” fail even to specify the claim to which they purportedly apply.
17          In light of these deficiencies, all of OpenAI’s defenses warrant striking for at least one of

18 three reasons. First, regarding the sixteen unequivocally affirmative defenses that proffer neither
19 legal authority nor factual allegations (Nos. 4-6, 12-14, 16-18, 46-49, 51-52, and 55)—much less
20 facts sufficient to render their skeletal labels and conclusory assertions plausible—the
21 Twombly/Iqbal standard compels them to be struck. Winns v. Exela Enter. Sols., Inc., No. 4:20-CV-
22 06762-YGR, 2021 WL 5632587, at *2 (N.D. Cal. Dec. 1, 2021). Second, as to the thirty-seven
23 negative defenses (Nos. 1-2, 7-11, 15, 19-43 50, 53-54), “these affirmative defenses, which, in fact,
24 are merely rebuttal to plaintiff’s claims” should therefore be “stricken” as needlessly duplicative.
25 Barnes v. AT & T Pension Ben. Plan-Nonbargained Program, 718 F. Supp. 2d 1167, 1173-74 (N.D.
26 Cal. 2010). Third, the proliferation of defenses, coupled with their lack of specificity, substantial
27 overlap, and absence of factual or legal foundation, fundamentally deprives Plaintiffs of adequate
28 “fair notice” regarding the purported defenses, thereby contravening both Rule 8 and due process
29                                                      1                       CASE NO. 24-CV-04722-YGR
                                                                                PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR          Document 186          Filed 06/26/25    Page 6 of 14



 1 (irrespective whether Twombly/Iqbal standards govern any particular assertion). Wyshak v. City Nat.

 2 Bank, 607 F.2d 824, 827 (9th Cir. 1979).
 3          Finally, these denuded pleadings prejudice Plaintiffs. They prevent Plaintiffs from

 4 conducting targeted and meaningful discovery, while the inherent logical inconsistencies render
 5 certain defenses virtually incomprehensible. Perhaps most egregiously, OpenAI has been exploiting
 6 its panoply of hollow labels and conclusory statements dressed as “defenses” to justify dramatically
 7 expanding the scope of discovery it seeks. Parkkinen Decl. ¶ 3. This Court bifurcated and expedited
 8 this case to facilitate efficient adjudication of Plaintiffs’ most pressing causes of action, yet OpenAI
 9 has undermined this goal by piling in fifty-five indiscriminate defenses for trial. As such, Plaintiffs
10 respectfully request the Court strike OpenAI’s defenses in their entirety.
11                                        STATEMENT OF FACTS

12          Plaintiffs’ FAC asserted multiple claims for relief. Dkt. 32 at 1-2. While OpenAI’s initial

13 answer purported to address the Breach of Charitable Trust claim, Dkt. 147 at 94-96, it was, in fact,
14 a comprehensive pleading encompassing sixty-seven pages of responses to all factual allegations
15 throughout the FAC, id. at 27-94, including two counterclaims, id. at 1-26, and twelve defenses, id.
16 at 96-97. Their defenses were not limited to Plaintiff’s Breach of Charitable trust claim, variously
17 contending that the entire FAC “fail[ed] to state a claim” and that it was barred “in whole or in part”
18 by any number of these defenses. Id.
19          Following the Court’s granting in part and denying in part OpenAI’s motion to dismiss,

20 Plaintiffs filed their SAC, containing five fewer causes of action. Dkt. 170 at 1-2. OpenAI
21 responded to this narrowed pleading by filing an exponentially expanded Answer, increasing its
22 separately denominated defenses by 350%. Dkt. 176 at 117-24.
23          The following among OpenAI’s fifty-five separately pled defenses constitute classic

24 affirmative defenses: unclean hands (No. 4), laches (No. 5), statute of limitations (No. 6), excusal
25 (No. 12), substantial performance (No. 13), failure of consideration (No. 14), termination (No. 16),
26 statute of frauds (No 17), non-occurrence of conditions (No. 18), equitable estoppel (No. 46),
27 waiver (No. 47), acquiescence (No. 48), the economic loss rule (No. 49), speculative or remote
28 damages (No. 51), failure to mitigate damages (No. 52), and public policy (No. 55). Id.
29                                                     2                        CASE NO. 24-CV-04722-YGR
                                                                                PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR          Document 186           Filed 06/26/25    Page 7 of 14



 1          Nearly the entirety of the remaining thirty-nine “defenses” constitute impermissible negative

 2 defenses that merely contend Plaintiffs have failed to establish their claims: “Failure to state a
 3 claim” (No. 1), “Lack of [statutory?] standing” (No. 2), “Lack of charitable trust” (No. 7), “No

 4 breach of charitable trust” (No. 8), “No breach of alleged contract” (No. 9), “Indefiniteness of
 5 alleged conduct” (No. 10), “Lack of implied-in-fact contract” (No. 11), “No mutual assent” (No.
 6 15), “No unfair interference” (No. 19), “No breach of alleged implied covenant” (No. 20), “No
 7 harm” (No. 21), “Impermissibly duplicative” (No. 22), “No benefit” (No. 23), “No unjust retention
 8 of a benefit” (No. 24), “No fiduciary/confidential relationship” (No. 25), “No breach of any duty”
 9 (No. 26), “No false statement” (No. 27), “Lack of scienter” (No. 28), “Lack of intent to defraud”
10 (No. 29), “No breached promise” (No. 30), “Lack of reliance” (No. 31), “[Sic] Substantial Factor”
11 (No. 32), “No acts of racketeering activity” (No. 33), “Lack of conduct” (No. 34), “Lack of
12 distinctiveness” (No. 35), “No pattern” (No. 36), “No related acts” (No. 37), “No continuous acts”
13 (No. 38), “Lack of conduct of an enterprise” (No. 39), “Lack of injury” (No. 40), “Lack of
14 causation” (No. 41), “No agreement to violate RICO” (No. 42), “Lack of [statutory?] standing” (No.
15 43), “No damages” (No. 50), “No enhanced damages” (No. 53), and “No equitable relief” (No. 54).
16 Id.
17          The only “defenses” that are neither affirmative nor duplicative negative defenses are: “Lack

18 of subject matter jurisdiction” for lack of “Article III standing” (No. 44, also the only defense
19 mentioning any source of law) and “Ripeness/Mootness” (No. 45), though OpenAI presumably
20 meant “Lack of Ripeness.”
21          None of the affirmative or negative defenses contain a scintilla of fact or law, and fifteen fail

22 to even specify the Phase One claims to which they purportedly apply (Nos. 4-6, 43, 45-55). Dkt.
23 176 at 117-24. This timely motion to strike necessarily follows. Fed. R. Civ. P. 12(f)(2).
24                                          LEGAL STANDARD

25          The Court has recently set forth the standard governing motions to strike:

26          A court “may strike from a pleading an insufficient defense or any redundant,
            immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). “The function of
27          a [Rule] 12(f) motion to strike is to avoid the expenditure of time and money that must
            arise from litigating spurious issues by dispensing with those issues prior to trial.”
28
29                                                      3                       CASE NO. 24-CV-04722-YGR
                                                                                PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR          Document 186           Filed 06/26/25    Page 8 of 14



 1          Whittlestone, Inc. v. Handi–Craft Co., 618 F.3d 970, 973 (9th Cir. 2010) (quoting
            Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993) rev’d on other grounds,
 2          510 U.S. 517 (1994)). “Motions to strike ‘are generally disfavored because they are
 3          often used as delaying tactics and because of the limited importance of pleadings in
            federal practice.’ ” Shaterian v. Wells Fargo Bank, N.A., 829 F. Supp. 2d 873, 879 (N.D.
 4          Cal. 2011) (quoting Rosales v. Citibank, Fed. Sav. Bank, 133 F. Supp. 2d 1177, 1180
            (N.D. Cal. 2001)). Further, because Rule 12(f) motions are disfavored, “courts often
 5          require a showing of prejudice by the moving party before granting the requested
            relief.” Sanchez v. City of Fresno, 914 F. Supp. 2d 1079, 1122 (E.D. Cal. 2012)
 6          (quoting Cal. Dep’t of Toxic Substances Control v. Alco Pac., Inc., 217 F. Supp. 2d
 7          1028, 1033 (C.D. Cal. 2002)).

 8 Decena v. Allegiant Final Mile, Inc., No. 4:23-CV-03633-YGR, 2024 WL 37221, at *2 (N.D. Cal.
 9 Jan. 2, 2024).
10                                               ARGUMENT

11     I.   OPENAI’S AFFIRMATIVE DEFENSES FAIL THE TWOMBLY/IQBAL STANDARD.

12          “An affirmative defense is an assertion raising new facts and arguments that, if true, will

13 defeat plaintiff’s claim, even if all allegations in [the] complaint are true.” Winns v. Exela Enter.
14 Sols., Inc., No. 4:20-CV-06762-YGR, 2021 WL 5632587, at *2 (N.D. Cal. Dec. 1, 2021) (quoting
15 Bay Area Roofers Health & Welfare Tr. v. Sun Life Assurance Co. of Can., No. 13-CV-04192-WHO,
16 2013 WL 6700017 at *2 (N.D. Cal. Dec. 19, 2013)). “In pleading affirmative defenses, a defendant
17 must allege sufficient facts to ‘nudge[ ] their [legal] claims across the line from conceivable to
18 plausible.’” Id. (citing and quoting Twombly, 550 U.S. at 570; Barnes v. AT & T Pension Ben. Plan-
19 Nonbargained Program, 718 F. Supp. 2d 1167, 1172 (N.D. Cal. 2010)). “While this standard does
20 not require extensive factual allegations, mere labels and conclusions do not suffice . . . .” Id. (citing
21 Iqbal, 556 U.S. at 678).
22          Consider three of OpenAI’s affirmative defenses as exemplars:

23                               FOURTH DEFENSE: UNCLEAN HANDS
                  The Second Amended Complaint is barred, in whole or in part, by Plaintiff
24
            Musk’s unclean hands.
25                                      FIFTH DEFENSE: LACHES
26                  The Second Amended Complaint is barred, in whole or in part, by the doctrine
            of laches.
27
28
29                                                      4                       CASE NO. 24-CV-04722-YGR
                                                                                PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR            Document 186          Filed 06/26/25   Page 9 of 14



 1                            SIXTH DEFENSE: STATUTE OF LIMITATIONS

 2                    The Second Amended Complaint is barred, in whole or in part, by the
               applicable statutes of limitations and limitations periods.
 3

 4 Dkt. 176 at 117.
 5             To which claims do these defenses apply? The pleading offers only the unhelpful disjunctive

 6 of the SAC “in whole or in part.” Id. Are equitable defenses being deployed against legal claims?
 7 What law governs? While California law might reasonably be presumed, OpenAI has previously
 8 (and erroneously) urged the application of Delaware law.1 Dkt. 109 at 19 n.3. Do these constitute
 9 statutory or common-law defenses, as some states have codified common-law defenses? If statutory,
10 which statutes, so Plaintiffs may ascertain their constituent elements? Irrespective of governing law,
11 what non-conclusory factual allegations render OpenAI’s satisfaction of those elements plausible?
12             The deficiencies transcend mere failure to satisfy the standards of Twombly/Iqbal; defenses

13 pled this inadequately would have proven insufficient even under pre-Twombly jurisprudence. See
14 Wyshak, 607 F.2d at 827 (“While the amended answer simply alleged that ‘plaintiff’s claims are
15 barred by the applicable statute of limitations,’ the attached memorandum made specific mention of
16 Cal. Code Civ. Proc. § 338.1 as the statute of limitations upon which CNB relied. We find that under
17 these circumstances the statute of limitations was adequately pleaded.”).
18             All of OpenAI’s affirmative defenses exhibit comparable deficiencies. Accordingly,

19 Plaintiffs respectfully request they be struck.
20       II.   OPENAI’S NEGATIVE DEFENSES ARE IMPERMISSIBLY DUPLICATIVE.

21             In the Barnes decision, which the Court cited favorably in Winns, 2021 WL 5632587 at *2,

22 the court observed that “‘[a] defense which demonstrates that plaintiff has not met its burden of
23 proof as to an element plaintiff is required to prove is not an affirmative defense.’” 718 F. Supp. 2d
24 at 1173 (quoting Zivkovic v. S. California Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002)). “Such a
25 defense is merely rebuttal against the evidence presented by the plaintiff.” Id. “Thus, it is curious
26 that defendant asserts as affirmative defenses that which it need not prove.” Id. at 1174.
27
     1
28     Of course, there is the additional complexity whether defenses to federal claims derive exclusively
     from federal common law or are borrowed from the law of the state in which the federal court sits.
29                                                       5                      CASE NO. 24-CV-04722-YGR
                                                                                PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR         Document 186        Filed 06/26/25     Page 10 of 14



 1          The Barnes court determined that “[t]o the extent that the [defendant] restates negative

 2 defenses that exist in other parts of the complaint, those defenses are redundant pursuant to Rule
 3 12(f) and should be struck so as to simplify and streamline the litigation.” Id. (citing Federal Trade

 4 Comm’n v. Think All Pub. L.L.C., 564 F.Supp.2d 663, 665 (E.D. Tex. 2008)). Consider these three
 5 exemplars among OpenAI’s thirty-seven iterations of this approach:
 6                            TWENTY-THIRD DEFENSE: NO BENEFIT
 7                Count IV (Breach of Quasi-Contract/Unjust Enrichment) fails because Plaintiff
            Musk did not confer a benefit on any OpenAI Defendant at his expense.
 8
 9           TWENTY-FOURTH DEFENSE: NO UNJUST RETENTION OF A BENEFIT
                   Count IV (Breach of Quasi-Contract/Unjust Enrichment) fails because none of
10          the OpenAI Defendants unjustly retained a benefit at the expense of Plaintiff Musk.
11
                   TWENTY-FIFTH DEFENSE: NO FIDUCIARY/CONFIDENTIAL
12                                  RELATIONSHIP
                    Count VI (Constructive Fraud) fails because no fiduciary or confidential
13          relationship existed between Altman, Brockman, or OpenAI, Inc., on the one hand,
14          and Plaintiff Musk, on the other hand.

15 Dkt. 176 at 120. The Twenty-Third and Twenty-Fourth Defenses constitute wholesale duplications
16 of OpenAI’s denials in Count IV (Unjust Enrichment). Id. at 95-96. The Twenty-Fifth Defense
17 similarly mirrors in its entirety OpenAI’s denials in Count VI (Constructive Fraud), id. at 96-98, and
18 reiterated elsewhere, id. at 101-02.
19          All of OpenAI’s negative defenses exhibit comparable redundancy and superfluity.

20 Accordingly, Plaintiffs respectfully request they be struck.
21       III. REGARDLESS, OPENAI’S OVERLAPPING, THREADBARE DEFENSE
              PLEADING DEPRIVES PLAINTIFFS OF FAIR NOTICE.
22
23          OpenAI will almost certainly contend in response to this Motion that, if Plaintiffs are

24 allowed to plead a number of claims for relief, Plaintiffs should not be heard to object to OpenAI’s
25 kitchen-sink approach.2 Of course, the difference is that Plaintiffs provided OpenAI with extensive
26   2
    The irony proves acute given OpenAI’s prior characterization of Plaintiffs’ antitrust claims as
27 “kitchen sink . . . outlandish theories,” Dkt. 106 at 33—at least before the Biden Administration’s
   Department of Justice and FTC backed them, Dkt. 87—while it is now reported that OpenAI itself
28 contemplates antitrust complaints to regulators concerning Microsoft on similar grounds. OpenAI
29                                                     6                       CASE NO. 24-CV-04722-YGR
                                                                               PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR         Document 186         Filed 06/26/25     Page 11 of 14



 1 factual and legal support for each of their claims; indeed, the Court even held those requiring

 2 heightened particularity satisfied that standard. Dkt. 163 at 4-6. The other notable difference is that
 3 OpenAI chose to proliferate its defenses by 350% after the Court had already narrowed Plaintiffs’

 4 claims in that very same order. OpenAI has now introduced more affirmative defenses than
 5 Plaintiffs have claims proceeding to the Phase One trial.
 6          In any event, OpenAI would be correct insofar as reciprocal standards should govern both

 7 parties’ pleading obligations. If Plaintiffs must provide OpenAI with particular pleading under
 8 Federal Rule of Civil Procedure 9(b), and at a minimum, plausible pleading under Twombly/Iqbal,
 9 OpenAI can reasonably be expected to provide a single factual allegation to support its kitchen-sink
10 defenses. “The key to determining the sufficiency of pleading an affirmative defense is whether it
11 gives plaintiff fair notice of the defense.” Wyshak, 607 F.2d at 827. OpenAI’s pleading
12 systematically deprives Plaintiffs of essential information regarding the governing legal authority,
13 constituent defensive elements, and supporting factual allegations—in essence, everything
14 fundamental fairness demands for a fair chance to respond. Banga v. Kanios, No. 16-CV-04270-RS,
15 2018 WL 11360187, at *2 (N.D. Cal. Mar. 20, 2018) (“At minimum, ‘fair notice’ generally requires
16 some pleading of facts: ‘Neither mere reference to a legal doctrine, nor a bare recitation of statutory
17 provisions, provides fair notice of an affirmative defense.’” (quoting Barrilleaux v. Mendocino Cty.,
18 2016 WL 1298860, at *2 (N.D. Cal. Apr. 4, 2016)).
19          Further, OpenAI’s overlapping defenses render Plaintiffs even more perplexed. According to

20 OpenAI’s Answer, Plaintiffs lack standing to pursue any of the “Subject Claims” (No. 43), which
21 term encompasses Breach of Charitable Trust, Dkt. 176 at 27, yet in addition, Musk specifically
22 lacks standing to assert a breach of charitable trust claim (No. 2). This duplication cannot be
23 attributed to the distinction between Article III standing and statutory standing, given that there is
24 yet another defense of no Article III standing (No. 44). Consequently, some undisclosed rationale
25 must underlie Plaintiffs’ purported lack of standing regarding charitable trust claims under two
26
27 executives weigh antitrust accusation against Microsoft, WSJ reports, Reuters (June 17, 2025),
28 available at https://www.reuters.com/sustainability/boards-policy-regulation/openai-executives-
   have-discussed-accusing-microsoft-anticompetitive-behavior-wsj-2025-06-16/.
29                                                   7                      CASE NO. 24-CV-04722-YGR
                                                                               PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR           Document 186       Filed 06/26/25     Page 12 of 14



 1 distinct statutory frameworks. Which statutes? Plaintiffs cannot discern.

 2             Identical perplexity results from OpenAI’s pleading of “No pattern” (No. 36) followed by

 3 separate pleading of “No related acts” (No. 37) and “No continuous acts” (No. 38), when

 4 relatedness and continuity are the sole elements of a pattern under RICO. H.J. Inc. v. Nw. Bell Tel.
 5 Co., 492 U.S. 229, 239 (1989). A deficiency in either relatedness or continuity would necessarily
 6 establish the absence of any cognizable pattern as a matter of law. What additional meaning can
 7 “No pattern” therefore convey?
 8       IV.      OPENAI’S WEAPONIZATION OF ITS INSUFFICIENTLY PLED DEFENSES
                  DURING DISCOVERY PREJUDICES PLAINTIFFS.
 9
10             If OpenAI’s fifty-five defenses were merely “haphazardly” filed “without a legitimate

11 basis,” Plaintiffs would not impose on the Court with this Motion, especially as to the sixteen
12 classic affirmative defenses. Fabian v. LeMahieu, No. 4:19-CV-00054-YGR, 2020 WL 3402800, at
13 *4 (N.D. Cal. June 19, 2020). However, OpenAI’s tactical expansion to fifty-five defenses now
14 imposes issues in dispute for summary judgment practice and trial. Plaintiffs have no way to
15 know—and, absent striking, will not know until, at the earliest, summary judgment, after the close
16 of discovery—what discovery to seek concerning OpenAI’s vague contentions that are inherently
17 highly fact-intensive.3 See, e.g., Morfin-Arias v. Knowles, No. 16-CV-06114-BLF, 2018 WL
18 1710369, at *8 (N.D. Cal. Apr. 9, 2018) (“The application of the unclean hands doctrine is generally
19 a fact intensive inquiry.”); Namisnak v. Uber Techs., Inc., 315 F. Supp. 3d 1124, 1128 (N.D. Cal.
20 2018), aff’d, 971 F.3d 1088 (9th Cir. 2020) (“The linchpin for equitable estoppel is equity—
21 fairness,” and “the application of the doctrine is fact-specific.”); Golden Gate Way, LLC v. Enercon
22 Servs., Inc., 572 F. Supp. 3d 797, 830 (N.D. Cal. 2021) (“This is a difficult standard to meet because
23 waiver always rests upon intent, and the burden is on the party claiming a waiver of right to prove it
24 by clear and convincing evidence that does not leave the matter to speculation.” (cleaned up)).
25             Additional prejudice arises from permitting OpenAI to assert defenses with “clearly

26
     3
    The prejudicial uncertainty, highlighted in Part III, equally afflicts the negative defenses. In
27 addition to the standing example, Plaintiffs must also endeavor to decipher what might qualify as
28 “No damages” (No. 50), as distinguished from “No harm” (No. 21), and regarding “No damages”
   specifically, how it differs from a “Lack of injury” (No. 40), for purposes of RICO.
29                                                    8                         CASE NO. 24-CV-04722-YGR
                                                                               PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR          Document 186         Filed 06/26/25      Page 13 of 14



 1 apparent” insufficiency. Prods. & Ventures Int’l v. Axus Stationary (Shanghai) Ltd., No. 16-CV-

 2 00669-YGR, 2017 WL 1330598, at *2 (N.D. Cal. Apr. 11, 2017). As several courts within this
 3 District have recognized, the need to “separately litigate” deficiently pled defenses and the

 4 consequent “additional costs in discovery” are important considerations warranting relief under
 5 Rule 12(f). Free Speech Sys., LLC v. Menzel, 390 F. Supp. 3d 1162, 1176 (N.D. Cal. 2019); FBC
 6 Mortg., LLC v. Skarg, 699 F. Supp. 3d 837, 840–41 (N.D. Cal. 2023) (“‘[T]he function of a 12(f)
 7 motion to strike is to avoid the expenditure of time and money[, which] arise from litigating
 8 spurious issues by dispensing with those issues prior to trial.’” (quoting Sidney-Vinstein v. A.H.
 9 Robins Co., 697 F.2d 880, 885 (9th Cir. 1983))); Nippon Sigmax Co., Ltd v. Kranos Corp., No. 21-
10 CV-0375-DOC (ADSx), 2021 WL 2634823, at *4 (C.D. Cal. June 25, 2021) (“[T]he Court believes
11 extending the plausibility requirement to affirmative defenses strikes the proper balance between
12 judicial economy and avoiding prejudice to the parties. The Twombly/Iqbal heightened standard
13 saved judicial resources by avoiding fishing expeditions, where a plaintiff’s threadbare accusations
14 could subject defendants to the rigors of discovery.”); Harris v. Chipotle Mexican Grill, Inc., 303
15 F.R.D. 625, 630 (E.D. Cal. 2014) (“This defense, purely hypothetical and supported by no factual
16 basis, risks sending plaintiffs on a fishing expedition . . . and the court will grant plaintiffs’ motion
17 to strike it.” (citation omitted)); Vogel v. Huntington Oaks Delaware Partners, LLC, 291 F.R.D. 438,
18 441 (C.D. Cal. 2013) (“Requiring a defendant to bolster its affirmative defenses with some factual
19 support comports with Iqbal’s message that discovery should not be used as a fishing expedition.”
20 (citing Barnes, 718 F. Supp. 2d at 1172)).
21          Here, OpenAI has weaponized its sweeping defenses in an effort to justify its overbroad

22 discovery demands, fundamentally incompatible with the expedited nature and purposes of Phase
23 One proceedings. For example, during an exhaustive nine-hour meet-and-confer conference
24 spanning June 12-13, 2025, OpenAI sought to rationalize its onerous discovery requests by
25 repeatedly invoking its voluminous defenses. Parkkinen Decl. ¶ 3. This approach inflicts
26 demonstrable prejudice upon Plaintiffs, who have and must continue to expend substantial resources
27 responding to discovery demands untethered, like OpenAI’s fifty-five defenses, to any coherent
28 legal theory, facts, or cause of action. When Plaintiffs questioned the substantive basis of these
29                                                       9                       CASE NO. 24-CV-04722-YGR
                                                                                 PLAINTIFFS’ MOT. TO STRIKE
30
     Case 4:24-cv-04722-YGR        Document 186        Filed 06/26/25       Page 14 of 14



 1 defenses, OpenAI persisted undeterred, arguing that Plaintiffs had failed to contest OpenAI’s

 2 defensive pleadings, id. ¶ 4—implicitly soliciting the present Motion.
 3          Indeed, since the conclusion of the parties’ June 12-13 conference, OpenAI, emboldened,

 4 has issued an additional eleven subpoenas, including taking the extraordinary step of subpoenaing
 5 Plaintiffs’ litigation counsel. Id. ¶ 5. In sum, such heightened discovery demands, purportedly
 6 buttressed by fifty-five “defenses,” impose burdensome obligations not merely upon Plaintiffs, but
 7 upon numerous third parties who must now divert resources and attention to respond to subpoenas
 8 predicated, in whole or in part, upon legally insufficient pleadings. OpenAI has thus exploited its
 9 defenses as instruments for discovery expansion rather than substantive legal positions worthy of
10 consideration and adjudication, creating a cascade of prejudicial effects that undermines the
11 efficiency these expedited proceedings were designed to achieve.
12                                            CONCLUSION

13          For the foregoing reasons, the insufficiency of OpenAI’s defenses is “clearly apparent.”

14 Prods. & Ventures Int’l, 2017 WL 1330598, at *2. Plaintiffs respectfully request the Court strike
15 OpenAI’s fifty-five separately denominated defenses as insufficient under Federal Rule of Civil
16 Procedure 12(f). In the alternative, and at a minimum, Plaintiffs request the Court strike OpenAI’s
17 sixteen manifestly insufficient affirmative defenses.
18
19    DATED: June 26, 2025                          Respectfully Submitted,

20                                                  TOBEROFF & ASSOCIATES, P.C.
21
                                                           /s/ Marc Toberoff
22                                                            Marc Toberoff

23                                                   Attorneys for Plaintiffs Elon Musk
                                                    and X.AI Corp.
24
25
26
27
28
29                                                   10                        CASE NO. 24-CV-04722-YGR
                                                                               PLAINTIFFS’ MOT. TO STRIKE
30
